     Case 8:22-cv-00099-DOC-DFM Document 350-23 Filed 05/26/22 Page 1 of 4 Page ID
                                      #:5578

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10
                             UNITED STATES DISTRICT COURT
11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14      JOHN C. EASTMAN                       Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21

22
23
24
25
                                      Exhibit V
26
27

28
Case 8:22-cv-00099-DOC-DFM Document 350-23 Filed 05/26/22 Page 2 of 4 Page ID
                                 #:5579

  From:
  To:              Lucier, Casey
  Subject:         Re: Call this morning
  Date:            Thursday, March 10, 2022 4:00:46 PM


                 never retained nor considered retaining Dr John Eastman. He contacted Dr Eastman
  merely to correct Eastman’s incorrect publicly stated position on the PA Constitution. He never had
  any attorney-client privileged communications.

                                .

  Happy to discuss.



  Sent from my iPhone



         On Mar 9, 2022, at 12:52 PM, Lucier, Casey <            @mail.house.gov> wrote:



         Sounds good – will do.

         Casey Erin Lucier
         House Select Committee to Investigate the January 6th Attack on the U.S. Capitol
                         (mobile) |           @mail.house.gov


         From:                          @klgates.com>
         Sent: Wednesday, March 9, 2022 12:51 PM
         To: Lucier, Casey <            @mail.house.gov>
         Subject: Re: Call this morning

         U bet. How about 3:00. Call me at               .

         Sent from my iPhone




               On Mar 9, 2022, at 12:49 PM, Lucier, Casey
               <           @mail.house.gov> wrote:


               Hi      – Can we connect this afternoon? I am open except for 2-
               2:30pm.

               Thanks,
Case 8:22-cv-00099-DOC-DFM Document 350-23 Filed 05/26/22 Page 3 of 4 Page ID
                                 #:5580

               Casey

               Casey Erin Lucier
               House Select Committee to Investigate the January 6th Attack on the U.S.
               Capitol
               (               (mobile) |           @mail.house.gov


               From:                          @klgates.com>
               Sent: Tuesday, March 1, 2022 8:19 PM
               To: Lucier, Casey <            @mail.house.gov>
               Subject: Re: Call this morning

               I was on a flight to San Francisco when I got this. Let me know when there
               is a convenient time to speak and a good number to call.

               Sent from my iPhone




                       On Mar 1, 2022, at 10:00 AM, Lucier, Casey
                       <           @mail.house.gov> wrote:


                             – Could you please give me a call at your convenience
                       this morning? You can reach me on my cell phone below.

                       Thank you,
                       Casey

                       Casey Erin Lucier
                       Investigative Counsel
                       House Select Committee to Investigate the January 6th
                       Attack on the U.S. Capitol
                                       (mobile) |           @mail.house.gov



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